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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA

IN RE: AQUEOUS FILM-FORMING FOAMS PRODUCTS                         MDL No.
LIABILITY LITIGATION                                               2:18-mn-2873-RMG
                                                               )
                                                               )
HILLCREST WATER DISTRICT,                                      )
               Plaintiff,                                      )
                                                               )
                                                               )   COMPLAINT
-vs -                                                          )   Case No. 2:22-cv-03094-RMG
                                                               )
THE 3M COMPANY, f/k/a Minnesota Mining and
Manufacturing Co., AGC CHEMICALS AMERICAS INC.,                )   Jury Trial Demanded
AMEREX CORPORATION, ARKEMA INC.,                               )
ARCHROMA U.S. INC., BASF CORPORATION,                          )
individually and as successor in interest to Ciba Inc.,        )
BUCKEYE FIRE EQUIPMENT COMPANY, CARRIER                        )
GLOBAL CORPORATION, CHEMDESIGN PRODUCTS
                                                               )
INC., CHEMGUARD INC. CHEMICALS, INC.,
CLARIANT CORPORATION, individually and as successor            )
in interest to Sandoz Chemical Corporation, CORTEVA,           )
INC., individually and as successor in interest to DuPont      )
Chemical Solutions Enterprise, DEEPWATER                       )
CHEMICALS, INC., DUPONT DE NEMOURS INC.,                       )
individually and as successor in interest to DuPont Chemical   )
Solutions Enterprise, DYNAX CORPORATION, E. I.
                                                               )
DUPONT DE NEMOURS AND COMPANY, individually
and as successor in interest to DuPont Chemical Solutions      )
Enterprise, KIDDE-FENWAL, INC., individually and as            )
successor in interest to Kidde Fire Fighting, Inc., NATION     )
FORD CHEMICAL COMPANY, NATIONAL FOAM,                          )
INC., THE CHEMOURS COMPANY, individually and as                )
successor in interest to DuPont Chemical Solutions             )
Enterprise, THE CHEMOURS COMPANY FC, LLC,
                                                               )
individually and as successor in interest to DuPont Chemical
Solutions Enterprise, TYCO FIRE PRODUCTS, LP,                  )
individually and as successor in interest to The Ansul         )
Company, and JOHN DOE DEFENDANTS 1-20,                         )
                                                               )
               Defendants.
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                       COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff HILLCREST WATER DISTRICT (“Plaintiff”), by and through its undersigned

counsel, hereby files this Complaint against Defendants, 3M COMPANY, f/k/a Minnesota Mining

and Manufacturing Co., AGC CHEMICALS AMERICAS INC., AMEREX CORPORATION,

ARKEMA INC., ARCHROMA U.S. INC., BASF CORPORATION, BUCKEYE FIRE

EQUIPMENT          COMPANY,        CARRIER        GLOBAL       CORPORATION,           CHEMDESIGN

PRODUCTS INC., CHEMGUARD INC., CHEMICALS, INC., CLARIANT CORPORATION,

CORTEVA, INC., DEEPWATER CHEMICALS, INC., DUPONT DE NEMOURS INC.,

DYNAX CORPORATION, E. I. DUPONT DE NEMOURS AND COMPANY, KIDDE-

FENWAL, INC., NATION FORD CHEMICAL COMPANY, NATIONAL FOAM, INC., THE

CHEMOURS COMPANY, THE CHEMOURS COMPANY FC, LLC, and TYCO FIRE

PRODUCTS, LP, and DOE DEFENDANTS 1-20, fictitious names whose present identifies are

unknown (collectively “Defendants”) and alleges, upon information and belief, as follows:

                                         INTRODUCTION

           1.    This action arises from the foreseeable contamination of groundwater by the use of

aqueous film-forming foam (“AFFF”) products that contained per- and poly-fluoroalkyl

substances (“PFAS”), including perfluorooctane sulfonate (“PFOS”) and perfluorooctanoic acid

(“PFOA”).

           2.    PFOS and PFOA are fluorosurfactants that repel oil, grease, and water. PFOS,

PFOA, and/or their chemical precursors, are or were components of AFFF products, which are

firefighting suppressant agents used in training and firefighting activities for fighting Class B fires.

Class B fires include fires involving hydrocarbon fuels such as petroleum or other flammable

liquids.



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       3.      PFOS and PFOA are mobile, persist indefinitely in the environment, bioaccumulate

in individual organisms and humans, and biomagnify up the food chain. PFOS and PFOA are also

associated with multiple and significant adverse health effects in humans, including but not limited

to kidney cancer, testicular cancer, high cholesterol, thyroid disease, ulcerative colitis, and

pregnancy-induced hypertension.

       4.      At various times from the 1960s through today, Defendants designed,

manufactured, marketed, distributed, and/or sold AFFF products containing PFOS, PFOA, and/or

their chemical precursors, and/or designed, manufactured, marketed, distributed, and/or sold the

fluorosurfactants and/or perfluorinated chemicals (“PFCs”) contained in AFFF (collectively,

“AFFF/Component Products”).

       5.      Defendants    designed,    manufactured,    marketed,    distributed,   and/or   sold

AFFF/Component Products with the knowledge that these toxic compounds would be released

into the environment during fire protection, training, and response activities, even when used as

directed and intended by Defendants.

       6.      Since its creation in the 1960s, AFFF designed, manufactured, marketed,

distributed, and/or sold by Defendants, and/or that contained fluorosurfactants and/or PFCs

designed, manufactured, marketed, distributed, and/or sold by Defendants, used as directed and

intended by Defendants, and subsequently released into the environment during fire protection,

training, and response activities, resulting in widespread PFAS contamination.

       7.      On October 2, 2020, the Massachusetts Department of Environmental Protection

(“MassDEP”) promulgated a new drinking water regulation and maximum contaminant level

(MCL) of 20 part per trillions (ppt) for the sum of six per-and poly-fluoroalkyl substances




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(PFAS6). Those compounds are PFOA, PFOS, PFNA, P3FHxS, PFHpA and PFDA (in

conjunction “PFAS6”).

        8.      Hillcrest Water District (“HWD”) is a Municipal Water System that provides water

to approximately 1,500 residents. The water that HWD distributes comes from one deep Well

located on the bottom on Lehigh Road and the purchase of water from Leicester Water Supply

District (“LWSD”).

        9.      HWD tested their water system Well for PFAS6 and results showed a range of

PFAS6 between 3.02 ppt to 5.63 ppt.

        10.     As mentioned above, HWD buys water from LWSD. LWSD is a Municipal Water

System that provides water to approximately 3,300 residents in the central area of Leicester. The

water that LWSD distributes comes from bedrock aquifers. The sources are located in two areas;

a well field in the Town of Paxton and two wells in Leicester, the Whittemore Street well and the

Rawson Street well located directly across the street from #88 Rawson Street. The Whittemore

Street well is currently offline.

        11.     In 2021 the LWSD sampled their water system. Sampling results in finished water

showed PFAS6 concentration levels of 11.5 ppt. For example, on August 11, 2021, Well #5 at

Rawson Street had a concentration of 8.2 ppt of PFOA. Also, sampling results in raw water showed

PFAS6 levels over 20 ppt. For example, on August 11, 2021, Well #5 at Rawson Street had a

concentration of 16 ppt of PFOA; 8.4 ppt of PFOS; 3.1 ppt of PFSxS; 0.87 of PFNA; 4.2 ppt of

PFHpA; and no PFDA detection.

        12.     On information and belief, HWD’ water supply system was contaminated by the

former Leicester Fire Station (“LFS”) located at 15 Water Street, Leicester. In this location, fire




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fighters used class B firefighting foams for fire suppression activities inside the source water

protection area close to the HWD’s water supply, specifically the well located at Rawson Street.

        13.    Moreover, on information and belief, the above contamination is also a direct and

proximate result of the use of class B firefighting foams at the Worcester Regional Airport

(“WRA”). WRA is located 2.5 miles away from Rawson Well and 3.5 miles away from Lehigh

Road.

        14.    On information and belief, in order to operate WRA safely and in compliance with

federal laws and regulations promoted by the Federal Aviation Administration, WRA was required

to conduct fire training operations and firefighting exercises.

        15.    The FAA requires Airport Operators to regularly perform firefighting training

exercises that involves the application of FAA’s approved fire extinguishing agents.

        16.    Until 2021 and for decades, AFFF was the approved firefighting agent required by

the FAA application during fire extinguishing exercises.

        17.    Not only did HWD purchased water from LWSD but also their Well is located on

the bottom of Lehigh Road, 1.75 miles from the former LFS at 15 Water Street, Leicester and 3.5

miles from WRA, where there was use of class B firefighting foams.

        18.    In order to ensure that it can continue to provide clean and safe water to citizens,

residents, and commercial and industrial users, Plaintiff has and will continue to take action to

address the above contamination of its property and wastewater, caused by the Defendants.

        19.    Through this action, Plaintiff seeks compensatory damages for the harm done to its

property and the costs associated with investigating, remediating, and monitoring the wastewater

treatment facilities contaminated with PFAS chemicals due to the use and storage of AFFF by the

former LFS.



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                                  JURISDICTION AND VENUE

        20.     Pursuant to this Court’s Case Management Order No. 3, this Complaint is filed as

an original action in the United States District Court for the District of South Carolina.

        21.     This Court has subject matter jurisdiction over the Defendants pursuant to 28

U.S.C. §1332(a), in that this action seeks monetary relief in excess of the sum or value of $ 75,000,

exclusive of interest, and there is complete diversity between the parties.

        22.     Pursuant to 28 U.S.C. § 1391, Plaintiff’s Home Venue is the United States District

Court for the District of Massachusetts.

        23.     Pursuant to 28 U.S.C. § 1391, Plaintiff's Home Venue is the United States District

Court for the District of Massachusetts.

        24.     This Court has personal jurisdiction over Defendants by virtue of each Defendants’

regular and systematic contacts with Massachusetts, including, among other things, purposefully

marketing, selling and/or distributing their AFFF/Component Products to and within

Massachusetts, and because they have the requisite minimum contacts with Massachusetts

necessary to constitutionally permit the Court to exercise jurisdiction over them consistent with

traditional notions of fair play and substantial justice.

                                              PARTIES

        A.      Plaintiff

        25.     Plaintiff, the Hillcrest Water District (the “HWD” or “Plaintiff”), is a municipal

corporation organized under the laws of the Commonwealth of Massachusetts, with its principal

place of business located at 124 Pine Street, Leicester, Massachusetts 01524.

        26.     Plaintiff is following the guidance, testing, and remediation requirements for its

property under Massachusetts law as it pertains to PFAS in HWD.



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        B.      Defendants

        27.     The term “Defendants” refers to all Defendants named herein jointly and severally.

                  i.   The AFFF Defendants

        28.     The term “AFFF Defendants” refers collectively to Defendants 3M Company,

Angus International Safety Group, Ltd., Amerex Corporation, Buckeye Fire Equipment Company,

Carrier Global Corporation, Central Sprinkler, LLC, Chemguard Inc., Fire Products GP Holding,

LLC, Johnson Controls International PLC, Kidde-Fenwal, Inc., National Foam, Inc.., and Tyco

Fire Products L.P.,

        29.     Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing Co.

(“3M”) is a corporation organized and existing under the laws of the State of Delaware, with its

principal place of business located at 3M Center, St. Paul, Minnesota 55144-1000.

        30.     Beginning before 1970 and until at least 2002, 3M designed, manufactured,

marketed, distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

PFOS.

        31.     Defendant Amerex Corporation (“Amerex”) is a corporation organized and

existing under the laws of the State of Alabama, with its principal place of business located at 7595

Gadsden Highway, Trussville, AL 35173.

        32.     Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

manufacturer of hand portable and wheeled extinguishers for commercial and industrial

applications.

        33.     In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest

manufacturers of AFFF products in Europe.




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         34.     On information and belief, beginning in 2011, Amerex designed, manufactured,

marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

PFOS.

         35.     Defendant Tyco Fire Products LP (“Tyco”) is a limited partnership organized

under the laws of the State of Delaware, with its principal place of business located at One Stanton

Street, Marinette, Wisconsin 54143-2542.

         36.     Tyco is the successor in interest of The Ansul Company (“Ansul”), having acquired

Ansul in 1990.

         37.     Beginning in or around 1975, Ansul designed, manufactured, marketed, distributed,

and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

         38.     After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design, manufacture,

market, distribute, and sell AFFF products containing PFAS, including but not limited to PFOA

and PFOS.

         39.     Defendant Chemguard, Inc. (“Chemguard”) is a corporation organized under

the laws of the State of Texas, with its principal place of business located at One Stanton Street,

Marinette, Wisconsin 54143.

         40.     On information and belief, Chemguard designed, manufactured, marketed,

distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

PFOS.

         41.     On information and belief, Chemguard was acquired by Tyco International Ltd. in

2011.




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       42.     Defendant Buckeye Fire Equipment Company (“Buckeye”) is a corporation

organized under the laws of the State of Ohio, with its principal place of business located at 110

Kings Road, Kings Mountain, North Carolina 28086.

       43.     On information and belief, Buckeye designed, manufactured, marketed, distributed,

and sold AFFF products containing PFAS, including but not limited to PFOA and PFOS.

       44.     Defendant National Foam, Inc. (“National Foam”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business located at 141 Junny

Road, Angier, North Carolina 27501.

       45.     Beginning in or around 1973, National Foam designed, manufactured, marketed,

distributed, and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

       46.     On information and belief, National Foam currently manufactures the Angus brand

of AFFF products and is a subsidiary of Angus International Safety Group.

       47.     On information and belief, National Foam merged with Chubb Fire Ltd. to form

Chubb National Foam, Inc. in or around 1988.

       48.     On information and belief, Chubb is or has been composed of different subsidiaries

and/or divisions, including but not limited to, Chubb Fire & Security Ltd., Chubb Security, PLC,

Red Hawk Fire & Security, LLC, and/or Chubb National Foam, Inc. (collectively referred to as

“Chubb”).

       49.     On information and belief, Chubb was acquired by Williams Holdings in 1997.

       50.     On information and belief, Angus Fire Armour Corporation had previously been

acquired by Williams Holdings in 1994.

       51.     On information and belief, Williams Holdings was demerged into Chubb and Kidde

P.L.C. in or around 2000.



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       52.     On information and belief, when Williams Holdings was demerged, Kidde P.L.C.

became the successor in interest to National Foam System, Inc. and Angus Fire Armour

Corporation.

       53.     On information and belief, Kidde P.L.C. was acquired by United Technologies

Corporation in or around 2005.

       54.     On information and belief, Angus Fire Armour Corporation and National Foam

separated from United Technologies Corporation in or around 2013.

       55.     Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business at One Financial Plaza,

Hartford, Connecticut 06101.

       56.     On information and belief, Kidde-Fenwal was an operating subsidiary of Kidde

P.L.C. and manufactured AFFF following Kidde P.L.C.’s acquisition by United Technologies

Corporation.

       57.     On information and belief, Kidde-Fenwal is the entity that divested the AFFF

business unit now operated by National Foam in 2013.

       58.     Defendant Carrier Global Corporation (“Carrier”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business at 13995 Pasteur

Boulevard, Palm Beach Gardens, Florida 33418.

       59.     On information and belief, Carrier was formed in March 2020 when United

Technologies Corporation spun off its fire and security business before it merged with Raytheon

Company in April 2020.

       60.     On information and belief, Kidde-Fenwal became a subsidiary of Carrier when

United Technologies Corporation spun off its fire and security business in March 2020.



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       61.     On information and belief, the AFFF Defendants designed, manufactured,

marketed, distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical

precursors that were stored, handled, used, trained with, tested equipment with, otherwise

discharged, and/or disposed at the former LFS.

                ii.   The Fluorosurfactant Defendants

       62.     The term “Fluorosurfactant Defendants” refers collectively to Defendants 3M, ,

Arkema Inc., BASF Corporation, ChemDesign Products Incorporated, Chemguard Inc.,

Deepwater Chemicals, Inc., E.I. DuPont de Nemours and Company, The Chemours Company, The

Chemours Company FC, LLC, DuPont de Nemours Inc., and Dynax Corporation.

       63.     Defendant Arkema Inc. is a corporation organized and existing under the laws of

Pennsylvania, with its principal place of business at 900 First Avenue, King of Prussia, PA 19406.

       64.     Arkema Inc. develops specialty chemicals and polymers.

       65.     Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

       66.     On information and belief, Arkema Inc. designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products.

       67.     Defendant BASF Corporation (“BASF”) is a corporation organized under the

laws of the State of Delaware, with its principal place of business located at 100 Park Avenue,

Florham Park, New Jersey 07932.

       68.     On information and belief, BASF is the successor-in-interest to Ciba. Inc. (f/k/a

Ciba Specialty Chemicals Corporation).

       69.     On information and belief, Ciba Inc. designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products.
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       70.    Defendant ChemDesign Products Inc. (“ChemDesign”) is a corporation

organized under the laws of Delaware, with its principal place of business located at 2 Stanton

Street, Marinette, WI, 54143.

       71.    On information and belief, ChemDesign designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products

       72.    Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a corporation organized

under the laws of Delaware, with its principal place of business located at 196122 E County Road

40, Woodward, OK, 73801.

       73.    On information and belief, Deepwater Chemicals designed, manufactured,

marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

precursors for use in AFFF products

       74.    Defendant Dynax Corporation (“Dynax”) is a corporation organized under the

laws of the State of Delaware, with its principal place of business located at 103 Fairview Park

Drive, Elmsford, New York 10523.

       75.    On information and belief, Dynax entered into the AFFF market on or about 1991

and quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

containing PFOS, PFOA, and/or their chemical precursors.

       76.    On information and belief, Dynax designed, manufactured, marketed, distributed,

and sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their

chemical precursors for use in AFFF products.




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       77.     Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation

organized under the laws of the State of Delaware, with its principal place of business located at

974 Centre Road, Wilmington, Delaware 19805.

       78.     Defendant The Chemours Company (“Chemours Co.”) is a limited liability

company organized under the laws of the State of Delaware, with its principal place of business

located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

       79.     In 2015, DuPont spun off its performance chemicals business to Chemours Co.,

along with vast environmental liabilities which Chemours Co. assumed, including those related to

PFOS and PFOA and fluorosurfactants. On information and belief, Chemours Co. has supplied

fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to manufacturers

of AFFF products.

       80.     On information and belief, Chemours Co. was incorporated as a subsidiary of

DuPont as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly-owned

subsidiary of DuPont.

       81.     In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

“performance chemicals” business line, which includes its fluoroproducts business, distributing

shares of Chemours Co. stock to DuPont stockholders, and Chemours Co. has since been an

independent, publicly-traded company.

       82.     Defendant The Chemours Company FC, LLC (“Chemours FC”) is a limited

liability company organized under the laws of the State of Delaware, with its principal place of

business located at 1007 Market Street, Wilmington, Delaware, 19899.




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       83.        Defendant Corteva, Inc. (“Corteva”) is a corporation organized and existing

under the laws of Delaware, with its principal place of business at 974 Centre Rd., Wilmington,

Delaware 19805.

       84.        Defendant Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de

Nemours Inc.”) is a corporation organized and existing under the laws of Delaware, with its

principal place of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H. Dow

Way, Midland, Michigan 48674.

       85.        On June 1, 2019, DowDuPont separated its agriculture business through the spin-

off of Corteva.

       86.        Corteva was initially formed in February 2018. From that time until June 1, 2019,

Corteva was a wholly-owned subsidiary of DowDuPont.

       87.        On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued

and outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that

distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

       88.        Corteva holds certain DowDuPont assets and liabilities, including DowDuPont’s

agriculture and nutritional businesses.

       89.        On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva and

of another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to be known

as DuPont (“New DuPont”). New DuPont retained assets in the specialty products business lines

following the above-described spin-offs, as well as the balance of the financial assets and liabilities

of E.I DuPont not assumed by Corteva.




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       90.     Defendants E. I. Du Pont de Nemours and Company; The Chemours Company;

The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

referred to as “DuPont” throughout this Complaint.

       91.     On information and belief, DuPont designed, manufactured, marketed, distributed,

and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for use in

AFFF products.

       92.     On information and belief, 3M and Chemguard also designed, manufactured,

marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

precursors for use in AFFF products.

       93.     On information and belief, the Fluorosurfactant Defendants designed,

manufactured, marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or

their chemical precursors for use in AFFF products that were stored, handled, used, trained with,

tested equipment with, otherwise discharged, and/or disposed at the former LFS.

                 iii.   The PFC Defendants

       94.     The term “PFC Defendants” refers collectively to 3M, AGC Chemicals Americas

Inc., Archroma U.S. Inc., ChemDesign Products Inc., Chemicals, Inc., Clariant Corporation,

Deepwater Chemicals, Inc., E. I. DuPont de Nemours and Company, The Chemours Company,

The Chemours Company FC, LLC, Corteva, Inc., DuPont de Nemours Inc., and Nation Ford

Chemical Company.

       95.     Defendant AGC Chemicals Americas, Inc. (“AGC”) is a corporation organized

and existing under the laws of Delaware, having its principal place of business at 55 East Uwchlan

Avenue, Suite 201, Exton, PA 19341.




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       96.     On information and belief, AGC Chemicals Americas, Inc. was formed in 2004 and

is a subsidiary of AGC Inc., a foreign corporation organized under the laws of Japan, with its a

principal place of business in Tokyo, Japan.

       97.     AGC manufactures specialty chemicals. It offers glass, electronic displays, and

chemical products, including resins, water and oil repellants, greenhouse films, silica additives,

and various fluorointermediates.

       98.     On information and belief, AGC designed, manufactured, marketed, distributed,

and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing

the fluorosurfactants used in AFFF products.

       99.     Defendant Archroma U.S., Inc. (“Archroma”) is a corporation organized and

existing under the laws of Delaware, with its a principal place of business at 5435 77 Center Drive,

Charlotte, North Carolina 28217.

       100.    On information and belief, Archroma was formed in 2013 when Clariant

Corporation divested its textile chemicals, paper specialties, and emulsions business to SK Capital

Partners.

       101.    On information and belief, Archroma designed, manufactured, marketed,

distributed, and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

manufacturing the fluorosurfactants used in AFFF products.

       102.    Defendant Chemicals, Inc. (“Chemicals, Inc.”) is a corporation organized and

existing under the laws of Texas, with its principal place of business located at 12321 Hatcherville,

Baytown, TX 77520.




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       103.   On information and belief, Chemicals, Inc. supplied PFCs containing PFOS,

PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in

AFFF products.

       104.   Defendant Clariant Corporation (“Clariant”) is a corporation organized and

existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

Charlotte, North Carolina 28205.

       105.   On information and belief, Clariant is the successor in interest to the specialty

chemicals business of Sandoz Chemical Corporation (“Sandoz”). On information and belief,

Sandoz spun off its specialty chemicals business to form Clariant in 1995.

       106.   On information and belief, Clariant supplied PFCs containing PFOS, PFOA, and/or

their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF products.

       107.   Defendant Nation Ford Chemical Co. (“Nation Ford”) is a corporation

organized and existing under the laws of South Carolina, with its principal place of business

located at 2300 Banks Street, Fort Mill, SC 29715.

       108.   On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

products.

       109.   On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont

also supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

manufacturing the fluorosurfactants used in AFFF products.

       110.   On information and belief, the Fluorochemical Defendants supplied PFCs

containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing the




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fluorosurfactants used in AFFF products that were stored, handled, used, trained with, tested

equipment with, otherwise discharged, and/or disposed at HWD.

                iv.    Doe Defendants 1-20

       111.    Doe Defendants 1-20 are unidentified entities or persons whose names are

presently unknown and whose actions, activities, omissions (a) may have permitted, caused

and/or contributed to the contamination of Plaintiff’s water sources or supply wells; or (b) may

be vicariously responsible for entities or persons who permitted, caused and/or contributed to the

contamination of Plaintiff’s water sources or supply wells; or (c) may be successors in interest to

entities or persons who permitted, caused and/or permitted , contributed to the contamination of

Plaintiff’s water sources or supply wells. After reasonable search and investigation to ascertain

the Doe Defendants actual names, the Doe Defendants’ actual identities are unknown to Plaintiff

as they are not linked with any of the Defendants on any public source.

       112.    The Doe Defendants 1-20 either in their own capacity or through a party they are

liable for: (1) designed, manufactured, marketed, distributed, and/or sold AFFF products

containing PFOS, PFOA, and/or their chemical precursors, and/or designed, manufactured,

marketed, distributed, and/or sold the fluorosurfactants and/or PFCs contained in

AFFF/Component Products; or (2) used, handled, transported, stored, discharged, disposed of,

designed, manufactured, marketed, distributed, and/or sold PFOS, PFOA, and/or their chemical

precursors, or other non-AFFF products containing PFOS, PFOA, and/or their chemical

precursors; or (3) failed to timely perform necessary and reasonable response and remedial

measures to releases of PFOS, PFOA, and/or their chemical precursors, or other non-AFFF

products containing PFOS, PFOA, and/or their chemical precursors in to the environment in

which Plaintiff’s water supplies and well exist.



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       113.    All Defendants, at all times material herein, acted by and through their respective

agents, servants, officers and employees, actual or ostensible, who then and there were acting

within the course and scope of their actual or apparent agency, authority or duties. Defendants are

liable based on such activities, directly and vicariously.

       114.    Defendants represent all or substantially all of the market for AFFF/Component

Products at HWD.

         FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

       A.      PFOA and PFOS and Their Risk to Public Health

       115.    PFAS are chemical compounds containing fluorine and carbon. These substances

have been used for decades in the manufacture of, among other things, household and commercial

products that resist heat, stains, oil, and water. These substances are not naturally occurring and

must be manufactured.

       116.    The two most widely studied types of these substances are PFOA and PFOS.

       117.    PFOA and PFOS have unique properties that cause them to be: (i) mobile and

persistent, meaning that they readily spread into the environment where they break down very

slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in

organisms and up the food chain; and (iii) toxic, meaning that they pose serious health risks to

humans and animals.

       118.    PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

spread in the environment. PFOA and PFOS also readily contaminate soils and leach from the soil

into groundwater, where they can travel significant distances.

       119.    PFOA and PFOS are characterized by the presence of multiple carbon-fluorine

bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally,



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chemically, and biologically stable. They resist degradation due to light, water, and biological

processes.

        120.      Bioaccumulation occurs when an organism absorbs a substance at a rate faster than

the rate at which the substance is lost by metabolism and excretion. Biomagnification occurs when

the concentration of a substance in the tissues of organisms increases as the substance travels up

the food chain.

        121.      PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

relatively stable once ingested, so that they bioaccumulate in individual organisms for significant

periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to

any PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.

        122.      PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

humans eat fish that have ingested PFOA and/or PFOS.

        123.      The chemical structure of PFOA and PFOS makes them resistant to breakdown or

environmental degradation. As a result, they are persistent when released into the environment.

        124.      Exposure to PFAS is toxic and poses serious health risks to humans and animals.

        125.      PFAS are readily absorbed after consumption or inhalation and accumulate

primarily in the bloodstream, kidney, and liver.

        B.        Defendants’ Manufacture and Sale of AFFF/Component Products

        126.      AFFF is a type of water-based foam that was first developed in the 1960s to

extinguish hydrocarbon fuel-based fires.

        127.      AFFF is a Class-B firefighting foam. It is mixed with water and used to extinguish

fires that are difficult to fight, particularly those that involve petroleum or other flammable liquids.

        128.      AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

agents with fluorosurfactants. When mixed with water, the resulting solution produces an aqueous
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film that spreads across the surface of hydrocarbon fuel. This film provides fire extinguishment

and is the source of the designation aqueous film-forming foam.

       129.    Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS, PFOA,

or the chemical precursors that degrade into PFOS and PFOA.

       130.    AFFF can be made without the fluorosurfactants that contain PFOA, PFOS, and/or

their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release PFOA,

PFOS, and/or their precursor chemicals into the environment.

       131.    AFFF that contains fluorosurfactants, however, is better at extinguishing

hydrocarbon fuel-based fires due to their surface-tension lowering properties, essentially

smothering the fire and starving it of oxygen.

       132.    The fluorosurfactants used in 3M’s AFFF products were manufactured by 3M’s

patented process of electrochemical fluorination (“ECF”).

       133.    The fluorosurfactants used in other AFFF products sold by the AFFF Defendants

were manufactured by the Fluorosurfactant Defendants through the process of telomerization.

       134.    The PFCs the Fluorosurfactant Defendants needed to manufacture those

fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

manufactured, marketed, distributed and/or sold by the PFC Defendants.

       135.    On information and belief, the PFC and Fluorosurfactant Defendants were aware

that the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or

sold would be used in the AFFF products designed, manufactured, marketed, distributed, and/or

sold by the AFFF Defendants.




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       136.      On information and belief, the PFC and Fluorosurfactant Defendants designed,

manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in the

AFFF products discharged into the environment at HWD during fire protection, training, and

response activities, resulting in widespread PFAS contamination.

       137.      On information and belief, the AFFF Defendants designed, manufactured,

marketed, distributed, and/or sold the AFFF products discharged into the environment at HWD

during fire protection, training, and response activities, resulting in widespread PFAS

contamination.

       C.        Defendants’ Knowledge of the Threats to Public Health and the Environment
                 Posed by PFOS and PFOA

       138.      On information and belief, by at least the 1970s 3M and DuPont knew or should

have known that PFOA and PFOS are mobile and persistent, bioaccumulative and biomagnifying,

and toxic.

       139.      On information and belief, 3M and DuPont concealed from the public and

government agencies its knowledge of the threats to public health and the environment posed by

PFOA and PFOS.

       140.      Some or all of the Defendants understood how stable the fluorinated surfactants

used in AFFF are when released into the environment from their first sale to a customer, yet they

failed to warn their customers or provide reasonable instruction on how to manage wastes

generated from their products.

                   i.   1940s and 1950s: Early Warnings About the Persistence of AFFF

       141.      In 1947, 3M started its fluorochemical program, and within four years, it began

selling its PFOA to DuPont. The persistence and contaminating nature of the fluorosurfactants




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contained in AFFF products were understood prior to their commercial application at 3M’s Cottage

Grove facility in Minnesota.

        142.    The inventor of 3M’s ECF process was J.H. Simons. Simons’ 1948 patent for the

ECF process reported that PFCs are “non-corrosive, and of little chemical reactivity,” and “do not

react with any of the metals at ordinary temperatures and react only with the more chemically

reactive metals such as sodium, at elevated temperatures.”1

        143.    Simons further reported that fluorosurfactants produced by the ECF process do not

react with other compounds or reagents due to the blanket of fluorine atoms surrounding the carbon

skeleton of the molecule.      3M understood that the stability of the carbon-to-fluorine bonds

prevented its fluorosurfactants from undergoing further chemical reactions or degrading under

natural processes in the environment.2

        144.    The thermal stability of 3M’s fluorosurfactants was also understood prior to

commercial production. Simons’ patent application further discloses that the fluorosurfactants

produced by the ECF process were thermally stable at temperatures up to 750° C (1382º F).

Additional research by 3M expanded the understanding of the thermal stability of perfluorocarbon

compounds.3

        145.    Nowhere in any Material Safety Data Sheet for any of Defendants’

AFFF/Component Products is information on the thermal stability of those products disclosed.

Failure to disclose knowledge of the stability of the PFCs and fluorosurfactants used in AFFF


1
 Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.
2
 Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.
3
 Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine
Chemistry, 1(13): 423-462.

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products to customers is a failure to warn just how indestructible the AFFF’s ingredients are when

released to unprotected water sources and even treatment plants.

                  ii.   1960s: AFFF’s Environmental Hazards Come Into Focus

        146.    By at least the end of the 1960s, additional research and testing performed by 3M

and DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique

chemical structure, were resistant to environmental degradation and would persist in the

environment essentially unaltered if allowed to enter the environment.

        147.    One 3M employee wrote in 1964: “This chemical stability also extends itself to all

types of biological processes; there are no known biological organisms that are able to attack the

carbon-fluorine bond in a fluorocarbon.”4 Thus, 3M knew by the mid-1960s that its surfactants

were immune to chemical and biological degradation in soils and groundwater.

        148.    3M also knew by 1964 that when dissolved, fluorocarbon carboxylic acids and

fluorocarbon sulfonic acids dissociated to form highly stable perfluorocarboxylate and

perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 and FC-143

(the ammonium salt of PFOA) in soils indicated very high solubility and very high mobility in

soils for both compounds.5

                 iii.   1970s: Internal Studies Provide Evidence of Environmental and Health
                        Risks

        149.    By 1950, 3M knew that the fluorosurfactants used in its AFFF product(s) would

not degrade when released to the environment, but would remain intact and persist. Two decades




4
 Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964), available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.
5
  Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.

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later—and after the establishment of a robust market of AFFFs using fluorosurfactants—3M

finally got around to looking at the environmental risks that fluorosurfactants posed.

         150.    An internal memo from 3M in 1971 states that “the thesis that there is ‘no natural

sink’ for fluorocarbons obviously demands some attention.”6 Hence, 3M understood at the very

least that the fluorosurfactant used in its AFFF products would, in essence, never degrade once it

was released into the environment.

         151.    By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimate

understanding of the persistent nature of PFCs.        A 1976 study, for example, observed no

biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as “unsurprising”

in light of the fact that “[b]iodegradation of FC 95 is improbable because it is completely

fluorinated.”7

         152.    In 1977, Ansul authored a report titled “Environmentally Improved AFFF,” which

acknowledged that releasing AFFF into the environment could pose potential negative impacts to

groundwater quality.8 Ansul wrote: “The purpose of this work is to explore the development of

experimental AFFF formulations that would exhibit reduced impact on the environment while

retaining certain fire suppression characteristic . . . improvements [to AFFF formulations] are

desired in the environmental area, i.e., development of compositions that have a reduced impact

on the environment without loss of fire suppression effectiveness.” Thus, Ansul knew by the mid-

1970s that the environmental impact of AFFF needed to be reduced, yet there is no evidence that

Ansul (or any other Defendant) ever pursued initiatives to do so.


6
 Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.
7
    Technical Report Summary, August 12, 1976 [3MA01252037].
8
 Ansul Co., Final Report: Environmentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec. 13,
1977, available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a050508.pdf.

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       153.    A 1978 3M biodegradation study likewise reported that an “extensive study

strongly suggest[ed]” one of its PFCs is “likely to persist in the environment for extended period

unaltered by metabolic attack.”9 A year later, a 3M study reported that one of its fluorosurfactants

“was found to be completely resistant to biological test conditions,” and that it appeared waterways

were the fluorosurfactant’s “environmental sink.”10

       154.    In 1979, 3M also completed a comprehensive biodegradation and toxicity study

covering investigations between 1975 and 1978.11 More than a decade after 3M began selling

AFFF containing fluorosurfactants it wrote: “there has been a general lack of knowledge relative

to the environmental impact of these chemicals.” The report ominously asked, “If these materials

are not biodegradable, what is their fate in the environment?”

       155.    During the 1970s, 3M also learned that the fluorosurfactants used in AFFF

accumulated in the human body and were “even more toxic” than previously believed.

       156.    In 1975, 3M learns that PFAS was present in the blood of the general population.12

Since PFOA and PFOS are not naturally occurring, this finding should have alerted 3M to the

possibility that their products were a source of this PFOS. The finding also should have alerted 3M

to the possibility that PFOS might be mobile, persistent, bioaccumulative, and biomagnifying, as

those characteristics could explain how PFOS from 3M's products ended up in human blood.



9
 Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
Fluorocarbons - II, Jan. 1, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
10
  Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
Fluorocarbons - III, July 19, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
11
  Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.
12
 Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma,
Aug. 20, 1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.

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       157.    In 1976, 3M found PFAS in the blood of its workers at levels “up to 1000 times

‘normal’ amounts of organically bound fluorine in their blood.”13 This finding should have alerted

3M to the same issues raised by the prior year’s findings.

       158.    Studies by 3M in 1978 showed that PFOA reduced the survival rate of fathead

minnow fish eggs,14 that PFOS was toxic to monkeys,15 and that PFOS and PFOA were toxic to

rats.16 In the study involving monkeys and PFOS, all of the monkeys died within days of ingesting

food contaminated with PFOS.

       159.    In 1979, 3M and DuPont discussed 3M’s discovery of PFOA in the blood of its

workers and came to the same conclusion that there was “no reason” to notify the EPA of the

finding.17

                iv.    1980s and 1990s: Evidence of AFFF’s Health Risks Continues to Mount

       160.    By at least the end of the 1980s, additional research and testing performed by

Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain cancers

and other adverse health effects, including elevated liver enzymes and birth defects, had been

observed among workers exposed to such materials, including at least PFOA, but such data was


13
  3M Chronology – Fluorochemicals in Blood, Aug. 26, 1977, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.
14
  The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and
Survival of Fry of Fathead Minnow, June 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
15
  Ninety-Day Subacute Rhesus Monkey Toxicity Study, Dec. 18, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf; Aborted FC95 Monkey Study,
Jan. 2, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf.
16
  Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 – 90
Day Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports and Summary, Mar. 20,
1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
17
  Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of
Fluorochemicals in Blood, July 26, 1979, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.

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not published, provided to governmental entities as required by law, or otherwise publicly

disclosed at the time.

          161.    In 1981, DuPont tested for and found PFOA in the blood of female plant workers

Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed

workers, finding two of seven children born to female plant workers between 1979 and 1981 had

birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and eye defect.18

          162.    In 1983, 3M researchers concluded that concerns about PFAS “give rise to concern

for environmental safety,” including “legitimate questions about the persistence, accumulation

potential, and ecotoxicity of fluorochemicals in the environment.”19 That same year, 3M completed

a study finding that PFOS caused the growth of cancerous tumors in rats.20 This finding was later

shared with DuPont and led them to consider whether “they may be obliged under their policy to

call FC-143 a carcinogen in animals.”21

          163.    In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

workers, leading one of the company’s medical officers to warn in an internal memo: “we must

view this present trend with serious concern. It is certainly possible that . . . exposure opportunities

are providing a potential uptake of fluorochemicals that exceeds excretion capabilities of the

body.”22


18
     C-8 Blood Sampling Results, available at http://tiny.cc/v8z1mz.
19
   3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
20
   Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of
4, Aug. 29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
21
  Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-Year
Feeder Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988,
available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.
22
  Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.

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       164.    A 1997 material safety data sheet (“MSDS”) for a non-AFFF product made by 3M

listed its only ingredients as water, PFOA, and other perfluoroalkyl substances and warned that the

product includes “a chemical which can cause cancer.” The MSDS cited “1983 and 1993 studies

conducted jointly by 3M and DuPont” as support for this statement. On information and belief, the

MSDS for 3M’s AFFF products did not provide similar warnings or information.

                 v.    Defendants Hid What They Knew from the Government and the Public.

       165.    Federal law requires chemical manufacturers and distributors to immediately notify

the EPA if they have information that “reasonably supports the conclusion that such substance or

mixture presents a substantial risk of injury to health or the environment.” Toxic Substances

Control Act (“TSCA”) § 8(e), 15 U.S.C. § 2607(e)

       166.    In April 2006, 3M agreed to pay EPA a penalty of more than $1.5 million after

being cited for 244 violations of the TSCA, which included violations for failing to disclose studies

regarding PFOS, PFOA, and other PFCs dating back decades.

       167.    Likewise, in December 2005, the EPA announced it was imposing the “Largest

Environmental Administrative Penalty in Agency History” against DuPont based on evidence that

it violated the TSCA by concealing the environmental and health effects of PFOA.

       168.    On information and belief, Defendants knew or should have known that AFFF

containing PFOA or PFOS would very likely injure and/or threaten public health and the

environment, even when used as intended or directed.

       169.    Defendants failed to warn of these risks to the environment and public health,

including the impact of their AFFF/Component Products on the quality of unprotected water

sources.

       170.    Defendants were all sophisticated and knowledgeable in the art and science of

designing, formulating, and manufacturing AFFF/Component Products. They understood far
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more about the properties of their AFFF/Component Products—including the potential hazards

they posed to human health and the environment—than any of their customers. Still, Defendants

declined to use their sophistication and knowledge to design safer products.

       D.      The Impact of PFOS and PFOA on the Environment and Human Health Is
               Finally Revealed

       171.    As discussed above, neither 3M, DuPont, nor, on information and belief, any other

Defendant complied with their obligations to notify EPA about the “substantial risk of injury to

health or the environment” posed by their AFFF/Component Products. See TSCA § 8(e).

       172.    Despite decades of research, 3M first shared its concerns with EPA in the late

1990s. In a May 1998 report submitted to EPA, “3M chose to report simply that PFOS had been

found in the blood of animals, which is true but omits the most significant information,” according

to a former 3M employee.23

       173.    On information and belief, 3M began in 2000 to phase out its production of products

that contained PFOS and PFOA in response to pressure from the EPA.

       174.    Once the truth about PFOS and PFOA was revealed, researchers began to study the

environmental and health effects associated with them, including a “C8 Science Panel” formed out

of a class action settlement arising from contamination from DuPont’s Washington Works located

in Wood County, West Virginia.

       175.    The C8 panel consisted of three epidemiologists specifically tasked with

determining whether there was a probable link between PFOA exposure and human diseases. In

2012, the panel found probable links between PFOA and kidney cancer, testicular cancer,




23
  Letter from R. Purdy, Mar. 28, 1999, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.

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ulcerative colitis, thyroid disease, pregnancy-induced hypertension (including preeclampsia), and

hypercholesterolemia.

       176.    Human health effects associated with PFOS exposure include immune system

effects, changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and high

cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of tumors,

changed hormone levels, and affected the function of the liver, thyroid, pancreas, and immune

system.

       177.    The injuries caused by PFAS can arise months or years after exposure.

       178.    Even after the C8 Science Panel publicly announced that human exposure to 50

parts per trillion, or more, of PFOA in drinking water for one year or longer had “probable links”

with certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

disease, preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured

and represented to governmental entities, their customers, and the public (and continue to do so)

that the presence of PFOA in human blood at the levels found within the United States presents no

risk of harm and is of no legal, toxicological, or medical significance of any kind.

       179.    Furthermore, Defendants have represented to and assured such governmental

entities, their customers, and the public (and continue to do so) that the work of the independent

C8 Science Panel was inadequate to satisfy the standards of Defendants to prove such adverse

effects upon and/or any risk to humans with respect to PFOA in human blood.

       180.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

minimized, trivialized, manipulated, and/or otherwise influenced the information that was

published in peer-review journals, released by any governmental entity, and/or otherwise made

available to the public relating to PFAS in human blood and any alleged adverse impacts and/or



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risks associated therewith, effectively preventing the public from discovering the existence and

extent of any injuries/harm as alleged herein.

       181.      On May 2, 2012, the EPA published its Third Unregulated Contaminant Monitoring

Rule (“UCMR3”), requiring public water systems nationwide to monitor for thirty contaminants

of concern between 2013 and 2015, including PFOS and PFOA.24

       182.      In the May 2015 “Madrid Statement on Poly- and Perfluoroalkyl Substances

(PFAS’s),” scientists and other professionals from a variety of disciplines, concerned about the

production and release into the environment of PFOA, called for greater regulation, restrictions,

limits on the manufacture and handling of any PFOA containing product, and to develop safe non-

fluorinated alternatives to these products to avoid long-term harm to human health and the

environment.25

       183.      On May 25, 2016, the EPA released a lifetime health advisory level (HAL) for

drinking water and health effects support documents for PFOS and PFOA.26 See Fed. Register,

Vol. 81, No. 101, May 25, 2016. The EPA developed the HAL to assist governmental officials in

protecting public health when PFOS and PFOA are present in drinking water. The EPA HAL

identified the concentration of PFOS and PFOA in drinking water at or below which adverse health

effects are not anticipated to occur over a lifetime of exposure at 0.07 ppb or 70 ppt. The HAL was

based on peer-reviewed studies of the effects of PFOS and PFOA on laboratory animals (rats and



24
  Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water
Systems, 77 Fed. Reg: 26072 (May 2, 2012).
25
  Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T, Higgins
C, Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and
perfluoroalkyl      substances    (PFASs).    Environ    Health      Perspect    123:A107–A111;
http://dx.doi.org/10.1289/ehp.1509934.
26
  See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects
Support Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.

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mice) and was also informed by epidemiological studies of human populations exposed to PFOS.

These studies indicated that exposure to PFOS and PFOA over the HAL could result in adverse

health effects, including:

              a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low

                  birth weight, accelerated puberty, skeletal variations);

              b. Cancer (testicular and kidney);

              c. Liver effects (tissue damage);

              d. Immune effects (e.g., antibody production and immunity);

              e. Thyroid disease and other effects (e.g., cholesterol changes).

          184.    In 2016, the National Toxicology Program of the United States Department of

Health and Human Services (“NTP”) and the International Agency for Research on Cancer

(“IARC”) both released extensive analyses of the expanding body of research regarding the

adverse effects of PFCs. The NTP concluded that both PFOA and PFOS are “presumed to be an

immune hazard to humans” based on a “consistent pattern of findings” of adverse immune effects

in human (epidemiology) studies and “high confidence” that PFOA and PFOS exposure was

associated with suppression of immune responses in animal (toxicology) studies.27

          185.    IARC similarly concluded that there is “evidence” of “the carcinogenicity of . . .

PFOA” in humans and in experimental animals, meaning that “[a] positive association has been

observed between exposure to the agent and cancer for which a causal interpretation is . . .

credible.”28


27
  See U.S. Dep’t of Health and Human Services, Nat’l Toxicology Program, NTP Monograph:
Immunotoxicity Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept.
2016), at 1, 17, 19, available at
https://ntp.niehs.nih.gov/ntp/ohat/pfoa_pfos/pfoa_pfosmonograph_508.pdf
28
     See Int’l Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and in

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          186.   California has listed PFOA and PFOS to its Proposition 65 list as a chemical known

to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act of

1986.29

          187.   The United States Senate and House of Representatives passed the National

Defense Authorization Act in November 2017, which included $42 Million to remediate PFC

contamination from military bases, as well as devoting $7 Million toward the Investing in Testing

Act, which authorizes the Center for Disease Control and Prevention (“CDC”) to conduct a study

into the long-term health effects of PFOA and PFOS exposure.30 The legislation also required that

the Department of Defense submit a report on the status of developing a new military specification

for AFFF that did not contain PFOS or PFOA.31

          188.   In June 2018, the Agency for Toxic Substances and Disease Registry (“ATSDR”)

and EPA released a draft toxicological profile for PFOS and PFOA and recommended the drinking

water advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.32

          189.   On February 20, 2020, the EPA announced a proposed decision to regulate PFOA

and PFOS under the Safe Drinking Water Act, which the agency characterized as a “key milestone”



Polymer Manufacture (Dec. 2016), at 27, 97, available at
http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.
29
  California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10,
2017 as Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid
(PFOA) and Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at
https://oehha.ca.gov/proposition-65/crnr/chemicals-listed-effective-november-10-2017-known-state-
california-cause.
30
  National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017), available
at https://www.congress.gov/115/plaws/publ91/PLAW-115publ91.pdf.
31
  Id.; see also U.S. Department of Defense, Alternatives to Aqueous Film Forming Foam Report to
Congress, June 2018, available at https://www.denix.osd.mil/derp/home/documents/alternatives-to-
aqueous-film-forming-foam-report-to-congress/.
32
  ATSDR, Toxicological Profile for Perfluoroalkyls: Draft for Public Comment (June 2018), available at
https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.

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in its efforts to “help communities address per- and polyfluoroalkyl substances (PFAS)

nationwide.”33 Following a public comment period on its proposed decision, the EPA will decide

whether to move forward with the process of establishing a national primary drinking water

regulation for PFOA and PFOS.

            190.   On June 15, 2022, the EPA released new drinking water health advisory levels

(HALs) for four PFAS, including new interim HALs for PFOS and PFOA that departed

significantly from the 2016 EPA HAL they replaced.34 See Fed. Register, Vol. 87, No. 36848, June

21, 2022. Specifically, EPA issued HALs of 0.004 ppt for PFOA and 0.02 ppt for PFOS,35 which

collectively accounted for only a small fraction of the combined 70 ppt HAL that preceded them.

Importantly, EPA set these interim HALs at levels below which PFOS and PFOA can be measured

using current analytic methods, meaning that the mere detection of PFOS or PFOA in a water

provider’s system would be sufficient on its own to exceed the new levels.

            191.   As support for its decision, EPA explained that the science had evolved since 2016

and that the new interim HALs for PFOS and PFOA were “based on human studies” that “found

associations between PFOA and/or PFOS exposure and effects on the immune system, the

cardiovascular system, human development (e.g., decreased birth weight), and cancer.”36

Specifically, EPA had performed updated health effects analyses for PFOS and PFOA to provide

support for the drinking water regulations the agency planned to adopt for the two chemicals under



33
  Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water,
Feb. 20, 2020, available at https://www.epa.gov/newsreleases/epa-announces-proposed-decision-
regulate-pfoa-and-pfos-drinking-water.
34
  See Fed. Register, Vol. 87, No. 36848, June 21, 2022, Lifetime Drinking Water Health Advisories for Four
Perfluoroalkyl Substances.
35
     Id.
36
  EPA, Drinking Water Health Advisories for PFAS Fact Sheet for Communities at 1-2 (June 2022), available at
https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-factsheet-communities.pdf..

                                                       35
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the SDWA. Based on these analyses, EPA concluded that “the levels at which negative health

effects could occur are much lower than previously understood when EPA issued the 2016 health

advisories for PFOA and PFOS – including near zero for certain health effects.”37 For this reason,

the agency determined there was a “pressing need to provide updated information on the current

best available science to public health officials prior to finalization of the health effects

assessment.”38

        192.      Because the referenced health analyses are still undergoing final review by EPA’s

Science Advisory Board, the agency has stated that the new interim HALs for PFOS and PFOA

are subject to change. EPA has indicated, however, that it does not anticipate any changes resulting

in revised HALs for PFOS and PFOA that are greater than the 4 ppt minimum reporting level39

that applies to Public Water Systems.40




37
  EPA, Drinking Water Health Advisories for PFAS Fact Sheet for Public Water Systems at 2 (June 2022),
available at https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-factsheet-water-
system.pdf.
38
  EPA Office of Water, EPA Doc. No. 822-R-22-003, INTERIM Drinking Water Health Advisory:
Perfluorooctanoic Acid (PFOA) CASRN 335-67-1 at 18 (June 2022), available at
https://www.epa.gov/system/files/documents/2022-06/interim-pfoa-2022.pdf; EPA Office of Water, EPA Doc. No.
822-R-22-004, INTERIM Drinking Water Health Advisory: CASRN 1763-23-1 at 18 (June 2022), available at
https://www.epa.gov/system/files/documents/2022-06/interim-pfos-2022.pdf.
39
  As EPA’s website explains, the Minimum Reporting Level (“MRL”) for Unregulated Contaminant Monitoring
Rule (UCMR) 5 is the minimum quantitation level that, with 95 percent confidence, can be achieved by capable
analysts at 75 percent or more of the laboratories using a specified analytical method. The MRLs in EPA’s chart are
based on the UCMR 5 requirement to use EPA Method 533.
40
  EPA, Drinking Water Health Advisories for PFAS Fact Sheet for Public Water Systems at 2 (June 2022),
available at https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-factsheet-water-
system.pdf.

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        E.      AFFF Use and Storage at the former location of the Leicester Fire Station and
                at the Worcester Regional Airport Resulting in the Contamination of
                Plaintiff’s Water Supply

        193.    Until 2017 the former LFS was located at 15 Water Street, Leicester when it was

moved to 3 Paxton Street, Leicester; at 0.5 miles from the Rawson Street Well and 1.75 miles from

the HWD Well at Lehigh Road.

        194.    On information and belief, the LFS has used PFAS foams to extinguish petroleum-

based fires across the state. AFFF was regularly used and stored at the Fire Department and

released into the environment.

        195.    On information and belief, Defendants’ AFFF/Component Products were stored,

used, and discharged at the LFS’s former location for years.

        196.    On information and belief, Plaintiffs’ contamination is a direct and proximate result

of fire protection, training, and response activities at the LFS that used AFFF resulting in the

migration of PFAS into Plaintiff’s water supplies.

        197.    Instructions, warning labels and material safety data sheets that were provided with

the AFFF by the Defendants, did not reasonably nor adequately describe the health and

environmental hazards of AFFF, which Defendants knew or should have known.

        198.    HWD tested their water system Well for PFAS6 and results in finished water

showed a range of PFAS6 between 3.02 ppt to 5.63 ppt.

        199.    The source of water for HWD are (1) water bought from LWSD which gets it from

a well field located in the Town of Paxton and two (2) wells in Leicester: The Whittemore Street

well and the Rawson Street well; (2) a deep Well located at Lehigh Road. The HWD serves

approximately 1,500 residents.

        200.    In 2021 the LWSD sampled their water system. Sampling results in finished water

showed PFAS6 concentration levels of 11.5 ppt. For example, on August 11, 2021, Well #5 at
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Rawson Street had a concentration of 8.2 ppt of PFOA. Also, sampling results in raw water showed

PFAS6 levels over 20 ppt. For example, on August 11, 2021, Well #5 at Rawson Street had a

concentration of 16 ppt of PFOA; 8.4 ppt of PFOS; 3.1 ppt of PFSxS; 0.87 of PFNA; 4.2 ppt of

PFHpA; and no PFDA detection.

         201.   On information and belief, the above contamination is a direct and proximate result

of repeated, long-term, and widespread AFFF use at Leicester Fire Station, and the resulting

migration of “PFAS” into the surface and groundwater which supplies Plaintiffs’ drinking water

wells.

         202.   Moreover, on information and belief, the above contamination is also a direct and

proximate result of the use of class B firefighting foams at the Worcester Regional Airport

(“WRA”). WRA is located 2.5 miles away from Rawson Well and 3.5 miles away from Lehigh

Road.

         203.   On information and belief, in order to operate WRA safely and in compliance with

federal laws and regulations promoted by the Federal Aviation Administration, WRA was required

to conduct fire training operations and firefighting exercises.

         204.   The FAA requires Airport Operators to regularly perform firefighting training

exercises that involves the application of FAA’s approved fire extinguishing agents.

         205.   Until 2021 and for decades, AFFF was the approved firefighting agent required by

the FAA application during fire extinguishing exercises.

         206.   In order to ensure that it can continue to provide clean and safe water to residences

and businesses, Plaintiffs has and will continue to take action to address the above contamination

of its property and its potable water supply, caused by the Defendants.




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        207.    Such action includes, but is not limited to, additional testing and monitoring for

PFAS, planning, designing, purchasing, installing and maintaining water filtration systems to

remove these chemicals, infrastructure modifications, contingency planning, public notice and

outreach.

        208.    Due to the persistent and long-term nature of “PFAS” contamination, Plaintiffs has

and expects to suffer damages and incur the costs associated with these and other necessary

remedial actions for many years to come.

        F.      Plaintiff’s Contamination of its Water System Caused By AFFF Use at LFS

        209.    The HWD owns and operates its public water system which delivers drinking water

to its residents.

        210.    The HWD’s system has a deep Well located at the bottom of Lehigh Road in

Leicester, Massachusetts.

        211.    In 2021, Plaintiff performed PFAS testing in its water supply system. PFAS6

contamination was detected at concentration levels reached 5.63 ppt.

        Sample Location                  Date of Sample                  Results PFAS6

 Pierce Spring Collector                   12/09/2020                        12.1 ppt
 Blend– Finished Water

 Well #5 Rawson Street –                   12/09/2020                        12.1 ppt
 Finished Water

 Well #5 Rawson Street – Raw               05/13/2021                        25.8 ppt
 Water

 Pierce Spring Collector Blend             06/22/2021                         7.2 ppt
 – Finished Water

 Well #5 Rawson Street –                   06/28/2022                        13.4 ppt
 Finished Water




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 Well #5 Rawson Street –                     09/15/2021                          15 ppt
 Finished Water

 Well #5 Rawson Street –                     03/17/2022                          17 ppt
 Finished Water

 Pierce Spring Collector Blend               06/28/2022                          7.7 ppt
 – Finished Water

 Well #5 Rawson Street –                     06/28/2022                         13.4 ppt
 Finished Water



       212.    On information and belief, the above contamination is a direct and proximate result

of repeated, long-term, and widespread AFFF use at LFS and WRA, and the resulting migration

of “PFAS” into the surface and groundwater which supplies Plaintiffs’ drinking water wells.

       213.    To ensure that it can continue to provide clean and safe water to citizens, residents,

and commercial and industrial users, Plaintiff has and will have to incur in significant costs related

to PFAS testing, monitoring, and remedial actions designed to mitigate the contamination levels

on the HWD’s water distribution system.

       214.    Such actions include, but are not limited to planning, designing, purchasing,

installing, and maintaining water filtration systems to remove these chemicals, infrastructure

modifications, contingency planning, public notice, and outreach.

       215.    Due to the persistent and long-term nature of PFAS contamination, Plaintiff has

incurred and reasonably expects to suffer damages and incur costs associated with continuing its

investigation and remediation efforts, as well as its legal costs, for many years to come.




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       G.      AFFF Containing PFOS and PFOA Is Fungible and Commingled in the
               Groundwater

       216.    AFFF containing PFOS and/or PFOA, once it has been released to the environment,

lacks characteristics that would enable identification of the company that manufactured that

particular batch of AFFF or chemical feedstock.

       217.    A subsurface plume, even if it comes from a single location, such as a retention

pond or fire training area, originates from mixed batches of AFFF and chemical feedstock coming

from different manufacturers.

       218.    Because precise identification of the specific manufacturer of any given

AFFF/Component Product that was a source of the PFAS found at HWD.

       219.    is nearly impossible, given certain exceptions, Plaintiff must pursue all Defendants,

jointly and severally.

       220.    Defendants are also jointly and severally liable because they conspired to conceal

the true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products

containing PFOS and PFOA, at Plaintiff's expense, and to attempt to avoid liability.

               MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
                CONCERT OF ACTION, AND ENTERPRISE LIABILITY

       221.    Defendants in this action are manufacturers that control a substantial share of the

market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors

in the United States and are jointly responsible for the contamination of the groundwater at HWD.

Market share liability attaches to all Defendants and the liability of each should be assigned

according to its percentage of the market for AFFF/Component Products at issue in this Complaint.

       222.    Because PFAS is fungible, it is impossible to identify the exact Defendant who

manufactured any given AFFF/Component Product containing PFOS, PFOA, and/or their

chemical precursors found free in the air, soil, or groundwater, and each of these Defendants

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participated in a territory-wide and U.S. national market for AFFF/Component Products during

the relevant time.

       223.    Concert of action liability attaches to all Defendants, each of which participated in

a common plan to commit the torts alleged herein and each of which acted tortuously in pursuance

of the common plan to knowingly manufacture and sell inherently dangerous AFFF/Component

Products containing PFOS, PFOA, and/or their chemical precursors.

       224.    Enterprise liability attaches to all the named Defendants for casting defective

products into the stream of commerce.

                                      CAUSES OF ACTION

                                          COUNT I:
                                      DEFECTIVE DESIGN

       225.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

224 above, and further alleges the following:

       226.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants owed a duty to all persons whom its products might

foreseeably harm, including Plaintiff, and not to market any product which is unreasonably

dangerous in design for its reasonably anticipated use.

       227.    Defendants’ AFFF/Component Products were unreasonably dangerous for its

reasonably anticipated uses for the following reasons:

           a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

               and intended manner;

           b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

           c. PFAS poses significant threats to public health; and

           d. PFAS create real and potential environmental damage.

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        228.    Defendants knew of these risks and failed to use reasonable care in the design of

their AFFF/Component Products.

        229.    AFFF containing PFOS, PFOA, and/or their chemical precursors poses a greater

danger to the environment and to human health than would be expected by ordinary persons such

as Plaintiff and the general public.

        230.    At all times, Defendants were capable of making AFFF/Component Products that

did not contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative

designs existed which were capable of preventing Plaintiff's injuries.

        231.    The risks posed by AFFF containing PFOS, PFOA, and/or their chemical

precursors far outweigh the products’ utility as a flame-control product.

        232.    The likelihood that Defendants’ AFFF/Component Products would be spilled,

discharged, disposed of, or released into the environment and contaminate Plaintiff’s wells far

outweighed any burden on Defendants to adopt an alternative design, and outweighed the adverse

effect, if any, of such alternative design on the utility of the product.

        233.    As a direct and proximate result of Defendants’ unreasonably dangerous design,

manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their

chemical precursors, Plaintiff’s wells have been contaminated.

        234.    Defendants knew that it was substantially certain that their acts and omissions

described above would contaminate Plaintiff’s wells. Defendants committed each of the above-

described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

conscious and/or reckless disregard for Plaintiff's health and safety, and/or property rights.




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                                            COUNT II:
                                        FAILURE TO WARN

          235.   Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

234 above, and further allegesthe following:

          236.   As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants had a duty to provide adequate warnings of the risks of these

products to all persons whom its product might foreseeably harm, including Plaintiff and the

public.

          237.   Defendants’ AFFF/Component Products were unreasonably dangerous for its

reasonably anticipated uses for the following reasons:

             a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

                 and intended manner;

             b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

             c. PFAS poses significant threats to public health; and

             d. PFAS create real and potential environmental damage.

          238.   Defendants knew of the health and environmental risks associated with their

AFFF/Component Products and failed to provide a warning that would lead an ordinary reasonable

user or handler of a product to contemplate the dangers associated with their products or an

instruction that would have avoided Plaintiff's injuries.

          239.   Despite Defendants’ knowledge of the environmental and human health hazards

associated with the use and/or disposal of their AFFF/Component Products in the vicinity of drinking

water supplies, including PFAS contamination of public drinking supplies and private wells,

Defendants failed to issue any warnings, instructions, recalls, or advice regarding their

AFFF/Component Products to Plaintiff, governmental agencies or the public.

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        240.    As a direct and proximate result of Defendants’ failure to warn, Plaintiff’s wells have

been contaminated.

        241.    Defendants knew that it was substantially certain that their acts and omissions

described above would contaminate Plaintiff’s wells. Defendants committed each of the above-

described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and

with conscious and/or reckless disregard for Plaintiff's health and safety, and/or property rights.

                                            COUNT III:
                                           NEGLIGENCE

        242.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

241 above, and further allegesthe following:

        243.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants owed a duty to Plaintiff and to all persons whom its products

might foreseeably harm and to exercise due care in the formulation, manufacture, sale, labeling,

warning, and use of PFAS-containing AFFF.

        244.    Defendants owed a duty to Plaintiff to act reasonably and not place inherently

dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

water was imminent and certain.

        245.    Defendants knew or should have known that PFAS were leaching from AFFF used

for fire protection, training, and response activities.

        246.    Defendants knew or should have known that PFAS are highly soluble in water,

highly mobile, extremely persistent in the environment, and high likely to contaminate water

supplies if released into the environment.




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       247.    Defendants knew or should have known that the manner in which they were

designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

would result in the contamination of Plaintiff’s wells.

       248.    Despite the fact that Defendants knew or should have known that PFAS are toxic,

can contaminate water resources and are carcinogenic, Defendants negligently:

           a. designed, manufactured, formulated, handled, labeled, instructed, controlled,

               marketed, promoted, and/or sold AFFF/Component Products containing PFOS,

               PFOA, and/or their chemical precursors;

           b. issued deficient instructions on how their AFFF/Component Products should be used

               and disposed of, thereby permitting PFAS to contaminate the groundwater in and

               around HWD;

           c. failed to recall and/or warn the users of their AFFF/Component Products of the

               dangers of groundwater contamination as a result of standard use and disposal of their

               products;

           d. failed and refused to issue the appropriate warning and/or recalls to the users of their

               AFFF/Component Products; and

           e. failing to take reasonable, adequate, and sufficient steps or actions to eliminate,

               correct, or remedy any contamination after it occurred.

       249.    The magnitude of the burden on the Defendants to guard against this foreseeable

harm to Plaintiff was minimal, as the practical consequences of placing this burden on the

Defendants amounted to a burden to provide adequate instructions, proper labeling, and sufficient

warnings about their AFFF/Component Products.




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       250.     As manufacturers, Defendants were in the best position to provide adequate

instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and

to take steps to eliminate, correct, or remedy any contamination they caused.

       251.     As a direct and proximate result of Defendants’ negligence, Plaintiff’s wells were

contaminated.

       252.     Defendants knew that it was substantially certain that their acts and omissions

described above would contaminate Plaintiff’s wells. Defendants committed each of the above-

described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and

with conscious and/or reckless disregard for Plaintiff's health and safety, and/or property rights.

                                            COUNT IV:
                                            TRESPASS

       253.     Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

252 above, and further alleges the following:

       254.     Plaintiff is the owner, operator, and actual possessor of real property and

improvements used for collecting drinking water.

       255.     Defendants     designed,    manufactured,     distributed,   marketed,     and    sold

AFFF/Component Products with the actual knowledge and/or substantial certainty that AFFF

containing PFOS, PFOA, and/or their chemical precursors would, through normal use, release

PFAS that would migrate into groundwater, causing contamination.

       256.     Defendants negligently, recklessly, and/or intentionally designed, manufactured,

distributed, marketed, and sold AFFF/Component Products in a manner that caused PFAS to

contaminate Plaintiff's property.

       257.     As a direct and proximate result of Defendants’ trespass, Plaintiff has suffered and

continues to suffer property damage requiring investigation, remediation, and monitoring costs.


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          258.     Defendants knew that it was substantially certain that their acts and omissions

described above would threaten public health and cause extensive contamination of property,

including groundwater collected for drinking. Defendants committed each of the above-described

acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

conscious and/or reckless disregard for the health and safety of others, and for Plaintiff's property

rights.

                                    COUNT V:
                 ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours Co.)

          259.     Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

258 above, and further allegesthe following:

          260.     Through their effectuation of the Spinoff, Chemours Co., and DuPont (the

“Fraudulent Transfer Defendants”) caused Chemours Co. to transfer valuable assets to DuPont,

including but not limited to the $3.9 billion dividend (the “Transfers”), while simultaneously

assuming significant liabilities (the “Assumed Liabilities”).

          261.     The Transfers and Assumed Liabilities were made for the benefit of DuPont.

          262.     At the time that the Transfers were made, and the Liabilities were assumed, and

until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

Chemours Co.

          263.     The Fraudulent Transfer Defendants made the Transfers and incurred the Assumed

Liabilities with the actual intent to hinder, delay, and defraud the creditors or future creditors of

Chemours Co.

          264.     Plaintiff has been harmed as a result of the conduct of the Fraudulent Transfer

Defendants.




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        265.   Plaintiff is entitled to avoid the Transfers and to recover property or value

transferred to DuPont.

                             COUNT VI:
        CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours Co.)

        266.   Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

265 above, and further allegesthe following:

        267.   Chemours Co. did not receive reasonably equivalent value from DuPont in exchange

for the Transfers and Assumed Liabilities.

        268.   Each of the Transfers and the assumption of the Assumed Liabilities by Chemours

Co. was made to or for the benefit of DuPont.

        269.   At the time that the Transfers were made, and the Assumed Liabilities were assumed,

and until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

Chemours Co.

        270.   The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

Liabilities when Chemours Co. was engaged or about to be engaged in a business for which its

remaining assets were unreasonably small in relation to its business.

        271.   Chemours Co. was insolvent or in contemplation of insolvency at the time of the

Transfers, or became insolvent as a result of the Transfers and its assumption of the Assumed

Liabilities.

        272.   At the time that the Transfers were made, and Chemours Co. assumed the Assumed

Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should

have believed, that Chemours Co. would incur debts beyond its ability to pay as they became due.

        273.   Plaintiff has been harmed as a result of the Transfers.




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         274.   Plaintiff is entitled to avoid the Transfers and to recover property or value

transferred to DuPont.

                                         COUNT VIII:
                                      PUNITIVE DAMAGES

         275.   Plaintiff adopts, realleges, and incorporates each and every allegation in the

paragraphs 1 through 274 above, and further alleges the following:

         276.   Defendants engaged in willful, wanton, malicious, and or/reckless conduct that

caused the foregoing damage upon Plaintiff, disregarding their protected rights.

         277.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is not

limited to Defendants’ failure to take all reasonable measures to ensure PFAS would not be

released into the environment and inevitably contaminated Plaintiff’s wells.

         278.   Defendants have caused great harm to Plaintiff, acting with implied malice and an

outrageously conscious disregard for Plaintiff's rights and safety, such that the imposition of

punitive damages is warranted.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, HILLCREST WATER DISTRICT demands judgment against

Defendants, and each of them, jointly and severally, and request the following relief from the

Court:

            a. a declaration that Defendants acted with negligence, gross negligence, and/or

                willful, wanton, and careless disregard for the health, safety of Plaintiffs;

            b. an award to Plaintiff of general, compensatory, exemplary, consequential, nominal,

                and punitive damages, including but not limited to damages compensating Plaintiff

                for:




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                        i. costs and expenses related to the past, present, and future investigation,
                           sampling, testing, and assessment of the extent of PFAS contamination
                           at the Hillcrest Water District;
                        ii. costs and expenses related to past, present, and future treatment and
                            remediation of PFAS contamination at the Hillcrest Water District; and

                        iii. costs and expenses related to past, present, and future installation and
                             maintenance of filtration systems to assess and evaluate PFAS at the
                             Hillcrest Water District;

            c. an order for an award of attorney fees and costs, as provided by law;

            d. pre-judgment and post-judgment interest as provided by law;

            e. any equitable or injunctive relief the Court deems just and proper;

            f. an order barring the transfer of DuPont’s liabilities for the claims brought in this

                Complaint; and

            g. an order for all such other relief the Court deems just and proper.


            h. all such other relief the Court deems just and proper.



                                  DEMAND FOR JURY TRIAL

        Plaintiff, HILLCREST WATER DISTRICT demands a trial by jury of all issues so triable

as a matter of right.




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 Dated: New York, New York              NAPOLI SHKOLNIK
        September 9, 2022
                                        By: /s/ Paul J. Napoli
                                        Paul J. Napoli, Esq.
                                        1302 Avenida Ponce de León
                                        Santurce, Puerto Rico 00907
                                        Tel: (833) 271-4502
                                        Fax: (646) 843-7603
                                        pnapoli@nsprlaw.com

                                        Andrew Croner, Esq.
                                        Patrick Lanciotti, Esq.
                                        Nicholas Mindicino
                                        360 Lexington Avenue, 11th Fl.
                                        New York, New York 10017
                                        (212) 397-1000
                                        acroner@napolilaw.com
                                        planciotti@napolilaw.com
                                        nmindicino@napolilaw.com

                             Counsel for Plaintiff Hillcrest Water District




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